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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


IN RE: EpiPen (Epinephrine
       Injection, USP) Marketing,                              MDL No: 2785
       Sales Practices and Antitrust
       Litigation                                              Case No. 17-md-2785-DDC-TJJ



(This Document Applies to Consumer
Class Cases)

________________________________________
                                              ORDER

       Putative class member Denny Randall submitted a letter to the Clerk on June 23, 2023.

In short form, his letter asserts that he submitted a claim seeking to participate in class action

settlements approved in this Multi-District Litigation. The court has decided to append a

redacted copy of his letter to this Order as Exhibit 1. The material in Mr. Randall’s original letter

and attached photos shielded by these redactions provided his street address, his individualized

claim number, and some personal medical information. The court also has attached unredacted

versions of these submissions in Exhibit 2 to this Order. The court finds that Mr. Randall enjoys

a privacy interest in his claim number and specific street address. Also, and obviously, the court

finds that Mr. Randall’s personal medical information deserves protection. And the public has no

legitimate interest in the redacted information. None of it contributes—at least at this stage—to

the reasoning applied to resolve this dispute. The court thus directs the Clerk to seal Exhibit 2.

The parties can view Mr. Randall’s original materials, but sealing it shields the redacted material

from the public.

       Following receipt of Mr. Randall’s submissions, the court directed Class Counsel for the

plaintiff class to respond. Plaintiff’s Class Counsel now has provided a detailed response. It’s
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appended to this letter as Exhibit 3 (redacted) and Exhibit 4 (unredacted). Again, the redactions

shield Mr. Randall’s street address and certain other personalized claim information. Nothing

known to the court currently suggests that the public has any interest in this shielded information.

The court thus directs the Clerk to seal Exhibit 4, making it available to the parties in this action

but not the public.

       The court now provides Mr. Randall the opportunity to respond to Class Counsel’s letter

to the court. Mr. Randall may submit: (1) any response he wishes to make to Class Counsel’s

letter no later than 60 days from the date shown at the end of this Order; and (2) any additional

materials he believes the court should see to understand his claim and the reasons he should

share in the class settlement. The court also orders that Mr. Randall’s response must not exceed

10 pages. The court does not impose a limit, however, on the quantity of materials Mr. Randall

submits to support his claim. Once the court receives Mr. Randall’s response, it will decide

what, if any, further proceedings are necessary for the court to decide this dispute.

       Finally, to ensure that Mr. Randall receives this Order, the court directs the Clerk to send

this Order (along with attachments) to Mr. Randall by: (a) certified receipt, United States Mail;

and (b) by email attachment using the email address Mr. Randall has provided in his

communications with the court.

       IT IS SO ORDERED.

       Dated this 2nd day of October, 2024, at Kansas City, Kansas.

                                                       s/ Daniel D. Crabtree
                                                       Daniel D. Crabtree
                                                       United States District Judge




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